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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO



IRENE GALLEGOS,

               Plaintiff,

v.                                                        CIV 15-1143 MV/KBM

CENTRAL DESERT BEHAVIORAL HEALTH
HOSPITAL, FUNDAMENTAL CLINIC AND
OPERATIONAL SERVICES, LLC,
And DOES 1-10,

               Defendants.


                                    ORDER OF REMAND

       Having entered an Order [Doc. 36] adopting Magistrate Judge’s Proposed Findings and

Recommend Disposition, which recommended that Plaintiff’s Motion to Amend be granted, and

Plaintiff having filed an Amended Complaint [Doc. 38], which adds certain non-diverse

defendants and thereby destroys diversity jurisdiction,

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that this matter be

REMANDED to the First Judicial District Court of New Mexico.




                                                     UNITED STATES DISTRICT JUDGE
